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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE: Jose I. Colon
       Debtor,                                       BANKRUPTCY CASE NUMBER
                                                     20-13993/ELF
Nationstar Mortgage LLC d/b/a Mr. Cooper
      Movant.                                        CHAPTER 13
v.
                                                     11 U.S.C. § 362
Jose I. Colon
       Debtor/Respondent,                            May 18, 2021 at 9:30 am

William C. Miller, Trustee                           Courtroom # 1
      Additional Respondent.


  MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER FOR RELIEF
          FROM THE AUTOMATIC STAY UNDER SECTION §362 (d)

       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper ("Movant"), by and
through its undersigned counsel, pursuant to 11 U.S.C. §362, hereby seeks relief from the
automatic stay to exercise and enforce its rights, without limitation, with respect to certain real
property. In support of this motion, Movant avers as follows:

       1.      Debtor named above filed a Voluntary Petition under Chapter 13 of the United
       States Bankruptcy Code in the Eastern under the above case number.

       2.     Movant is the holder of a secured claim against Debtor, secured only by a first
       mortgage lien on real estate which is the principle residence of Debtor located at 1717
       Arnold Street, Philadelphia, PA 19152 (the "Mortgaged Premises").

       3.      Nationstar Mortgage LLC d/b/a Mr. Cooper services the loan on the property
       referenced in this motion for relief. In the event the automatic stay in this case is
       modified, this case dismisses and/or the debtor obtains a discharge and a foreclosure
       action is commenced on the mortgaged property, the foreclosure will be conducted in the
       name of Nationstar Mortgage LLC d/b/a Mr. Cooper.

       4.     Nationstar Mortgage LLC d/b/a Mr. Cooper, directly or through an agent, has
       possession of the promissory note. The promissory note is either made payable to
       Noteholder or has been duly indorsed in blank. Noteholder is the original mortgagee, or
       beneficiary, or the assignee of the security instrument for the referenced loan.

       5.     The filing of the aforesaid Petition operated as an automatic stay under Section
       362(a) of the Bankruptcy Code of proceedings by Movant to foreclose on the Mortgaged
       Premises. Movant requests relief from the automatic stay to continue with the filed
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     mortgage foreclosure action, if any, and to take the necessary action to obtain the
     Mortgaged Premises.

     6.     Additional Respondent is the Standing Trustee appointed in this Chapter 13
     proceeding.

     7.     Debtor has claimed an exemption in the amount of $25,150.00 in the subject
     property.

     8.      Debtor has failed to make all post-petition monthly mortgage payments.

     9.      The defaults include the failure to make the following monthly payments:

             a)     Payments of $1,246.12 from March 1, 2021 through April 1, 2021 which
                    totals $2,492.24;

             b)     Suspense Balance $50.79;

             c)     Attorney fees of $850.00 incurred in the representation of Movant
                    in this proceeding and filing costs of $188.00;

     The total amount due (a through c combined) is $3,479.45

     10.    The Fair Market Value of the Mortgaged Premises is $165,000.00, as per
     Debtor’s Schedules. The approximate amount necessary to payoff the loan is
     $132,092.74 good through April 21, 2021. The breakdown of the payoff is as follows:

          Principal Balance                                                             $127,531.74
          Accrued Interest                                                                 $3,507.12
          Escrow Advances made by Plaintiff                                                $1,357.76
          Corporate Advance                                                               $1,200.00
          Suspense Balance                                                              ($1,503.88)

     11.     Movant's interests are being immediately and irreparably harmed. Movant is
     entitled to relief, from the automatic stay, pursuant to either 11 U.S.C. § 362 (d)(1) or
     (d)(2), because of the foregoing default and because:

             a)     Movant lacks adequate protection for its interests in the Mortgaged
                    Premises;

             b)     Debtor has little, if any, equity in the Mortgaged Premises; and

             c)     The Mortgaged Premises are not necessary to an effective reorganization
                    or plan.

     12.   Movant requests that the Court waive Rule 4001(a)(3), permitting Movant to
     immediately implement and enforce the Court’s order.
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       13.     Attached are redacted copies of any documents that support the claim, such as
       promissory notes, purchase order, invoices, itemized statements of running accounts,
       contracts, judgments, mortgages, and security agreements in support of right to seek a lift
       of the automatic stay and foreclose if necessary.




         WHEREFORE, Movant respectfully moves this Court for an Order (i) granting Movant
relief from the automatic stay to foreclose upon and to otherwise exercise and enforce its rights
with respect to the Mortgaged Premises, (ii) awarding reasonable attorneys' fees incurred in the
preparation and presentation of this motion, and (iii) granting all such other and further relief as
the Court deems appropriate and necessary.

                                                      Respectfully submitted,


                                                              /s/ Kristen D. Little
Dated: April 26, 2021                                 BY:
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